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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO


In re:
                                                                   PROMESA
                                                                   Title III
THE FINANCIAL OVERSIGHT AND
MANAGEMENT BOARD FOR PUERTO RICO,
                                                                   No. 17-BK-3283-LTS
         as representative of
                                                                   (Jointly Administered)
THE COMMONWEALTH OF PUERTO RICO, et al.,

                                     Debtors.1

In re:
                                                                   PROMESA
                                                                   Title III
THE FINANCIAL OVERSIGHT AND
MANAGEMENT BOARD FOR PUERTO RICO,
                                                                   No. 17-BK-4780-LTS
         as representative of
                                                                   (Jointly Administered)
PUERTO RICO ELECTRIC POWER AUTHORITY,

                                     Debtor.

PUERTO RICO ELECTRIC POWER AUTHORITY,

                                    Movant,

           v.

AD HOC GROUP OF PREPA BONDHOLDERS,
ASSURED GUARANTY CORP., ASSURED
GUARANTY MUNICIPAL CORP., SYNCORA

1
        The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and
the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i)
Commonwealth of Puerto Rico (Bankruptcy Case No. 17-BK-3283-LTS) (Last Four Digits of Federal Tax
ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-
3284-LTS) (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation
Authority (“HTA”) (Bankruptcy Case No. 17-BK-3567-LTS) (Last Four Digits of Federal Tax ID: 3808);
(iv) Employees Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”)
(Bankruptcy Case No. 17-BK-3566-LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico
Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17- BK-4780-LTS) (Last Four Digits of
Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case No.
19- BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as
Bankruptcy Case numbers due to software limitations).
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GUARANTEE, INC., U.S. BANK NATIONAL
ASSOCIATION AS PREPA BOND TRUSTEE,

                                        Respondents.

    [PROPOSED] ORDER GRANTING DEBTOR’S MOTION IN LIMINE TO EXCLUDE
        EVIDENCE CHALLENGING OVERSIGHT BOARD’S CERTIFICATION
                           DETERMINATIONS


        Upon the Debtor’s Motion in Limine to Exclude Evidence Challenging Oversight Board’s

Certification Determinations [ECF No. _____ in Case No. 17-4780; ECF No. _____ in Case No.

17-3283] (the “Motion”); 2 and the Court having subject matter jurisdiction to consider the Motion

and the relief requested therein pursuant to PROMESA Section 306(a); and it appearing that venue

in this district is proper pursuant to PROMESA Section 307(a); and due and proper notice of the

Motion having been provided and it appearing that no other or further notice need be provided;

and the Court having determined the legal and factual bases set forth in the Motion establish just

cause for the relief granted herein, it is HEREBY ORDERED AS FOLLOWS:

         1.       The Motion is GRANTED as set forth herein.

         2.       The testimony set forth in the opening and supplemental reports of Dr. Sebastian

Edwards, Dr. Susan Tierney, and Dr. Maureen Chakraborty, including any subsequent corrections

and amendments thereto, that purports to challenge any certification determination of the

Oversight Board reflected in any certified fiscal plan, and any other such evidence proffered by

any party in interest to challenge any certified fiscal plan at the hearing on confirmation of the

PREPA Plan, is hereby excluded.

         3.       This Order resolves ECF No. _____ in Case No. 17-4780 and ECF No. _____ in

Case No. 17-3283.


2
    Capitalized terms used but not otherwise defined herein have the meanings given to them in the Motion.


                                                         2
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         SO ORDERED.

Dated:                  , 2023
         San Juan, Puerto Rico
                                    LAURA TAYLOR SWAIN
                                    United States District Court Judge




                                       3
